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                             IN THE UNITED STATES DISTRICT COURT                         U.S. DISTRICT COURT
                                   FOR THE DISTRICT OF UTAH


    DAJUAN MICHELE LAWLEY,                                    ORDER DENYING MOTION UNDER 28
                                                              U.S.C. § 2255 TO VACATE, SET ASIDE,
            Petitioner,                                             OR CORRECT SENTENCE
    v.
                                                                         Case No. 1:20-cv-00098
    UNITED STATES OF AMERICA,
                                                                      Chief Judge Robert J. Shelby
            Respondent.


           Petitioner Dajuan Michele Lawley pleaded guilty in May 2019 to one count of

Distribution of a Controlled Substance and one count of Possession of a Firearm in Furtherance

of Drug Trafficking.1 Pursuant to the plea agreement, Petitioner was sentenced to 78 months

imprisonment.2 Petitioner has filed a Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

Correct Sentence, arguing his sentence violates the United States Constitution because he

received ineffective assistance of counsel in the negotiation of the plea.3 For the reasons

explained below, Petitioner’s Motion is DENIED.4

           Section 2255, among other things, permits a prisoner to move to vacate, set aside, or

correct a sentence “upon the ground that the sentence was imposed in violation of the

Constitution.”5 Relevant here, the Sixth Amendment provides criminal defendants with the right




1
    Case No. 1:18-cr-00084 (Underlying Criminal Case), dkt. 45.
2
    Underlying Criminal Case, dkt. 53.
3
    Case No. 1:20-cv-00098 (Civil Case), dkt. 1.
4
  Section 2255 requires that the court hold a hearing “[u]nless the motion and the files and records of the case
conclusively show that the prisoner is entitled to no relief.” 28 U.S.C. § 2255(b). The court finds the motion and
record in this case conclusively shows that Petitioner is not entitled to relief, and therefore declines to hold a
hearing.
5
    28 U.S.C. § 2255(a).


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to effective assistance of counsel, including during the plea-bargaining process.6 In order to

show a deprivation of this right, a defendant must satisfy a two-prong test by showing “both that

his counsel’s performance ‘fell below an objective standard of reasonableness’ and that ‘the

deficient performance prejudiced the defense.’”7 Having reviewed Petitioner’s Motion, the court

concludes Petitioner has failed to satisfy either prong.

           To satisfy the first prong, the defendant “must identify the acts or omissions of counsel

that are alleged not to have been the result of reasonable professional judgment.”8 Here,

Petitioner has failed to do so. Petitioner’s Motion, in its entirety, states:

           On 11-09-18 I filed Motion for (Compel Specific Keys) it was only “looked” not
           filed. That my investigator reported that he put a pencil in barrel of the firearms
           and it fired the pencil?? The three firearms were never booked into evidence but
           was at D.A. office, according to investigator report.9

Indeed, Petitioner’s Motion does not identify any act or omission of counsel. As a result, the

court cannot evaluate counsel’s conduct under the first prong to determine whether it fell below

an objective standard of reasonableness. And because Petitioner has not identified any

supposedly deficient performance under the first prong, the court also cannot evaluate whether

Petitioner was prejudiced by counsel’s performance. Thus, Petitioner has failed to carry his

burden in demonstrating his Sixth Amendment right to effective assistance of counsel was

violated, and therefore his Motion to Vacate, Correct, or Set Aside Sentence must be denied.




6
    Lafler v. Cooper, 566 U.S. 156, 162 (2012).
7
  Byrd v. Workman, 645 F.3d 1159, 1167 (10th Cir. 2011) (quoting Strickland v. Washington, 466 U.S. 668, 687–88
(1984)).
8
    Strickland, 466 U.S. at 690.
9
  Civil Case, dkt. 1 at 4. Petitioner’s reference to his motion only being looked at—and not filed—is a reference to
the fact that the court treated the motion as a document lodged with the court instead of a motion filed with the
court. See Underlying Criminal Case, dkt. 24 (“While defendant is represented by counsel, only counsel can file
motions with the Court. Therefore, the Court designates . . . 20 MOTION to Compel specific keyes filed by Dajuan
Michele Lawley . . . filed by Dajuan Michele Lawley as documents lodged rather than Motions.”).


                                                          2
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                                                    CONCLUSION

           For the reasons explained above, Petitioner’s Motion10 is DENIED. The Clerk of Court

is directed to close this case.

           SO ORDERED this 22nd day of September 2020.

                                                        BY THE COURT:



                                                        ROBERT J. SHELBY
                                                        United States Chief District Judge




10
     Case No. 1:20-cv-00098 (Civil Case), dkt. 1.


                                                        3
